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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                 CRIMINAL 12-0434CCC
 1) MARIBEL RODRIGUEZ-FRAGOSO
 2) ANGEL HERNANDEZ-NUÑEZ
 3) VICTOR GONZALEZ-CRUZ
 4) JOSE DAVID SANJURJO-CARILLO
 5) ALEXANDER CALDERON-LOPEZ
 6) CARLOS NATAL-SILVA
 7) FELIX AQUINO-HIRALDO
 8) JOSE CASTRO-ARROYO
 9) CHRISTIAN ESCALERA-RODRIGUEZ
 10) EDWIN SAMUEL LISBOA-GARCIA
 11) JOSE E. NAVARRO-RIVERA
 12) LUIS D. VAZQUEZ-RIVERA
 13) NICOLAS RIVERA-LUCIANO
 14) LUIS AYALA-HERRERA
 15) MARIO MACEIRA-ESPIRITUSANTO
 16) HUGO E. OQUENDO-ALEJANDRO
 17) GERARDO I. BETANCOURT-ESTRELLA
 18) NELSON ORTIZ-CHERVONY
 19) ORSI GERMAN RODRIGUEZ-
 CONTRERAS
 20) RODOLFO TORRES-CORTES
 21) JOSE OMAR CARABALLO-NIEVES
 22) EUGENE A. ROMERO-SANTIAGO
 23) ANGEL L. MORALES-SEDA
 24) ARMANDO MEDINA-GUZMAN
 25) JESUS MANUEL LAUREANO-PEREZ
 Defendants


                                            ORDER

       Having considered the Report and Recommendation filed on January 31, 2014
(docket entry 793) on a Rule 11 proceeding of defendant Luis Ayala-Herrera (14) before
U.S. Magistrate Judge Marcos E. López on January 30, 2014, to which no objection has
been filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is
accepted. The Court FINDS that his plea was voluntary and intelligently entered with
awareness of his rights and the consequences of pleading guilty and contains all elements
of the offense charged in the indictment.
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       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since January 30, 2014. The sentencing hearing is set for May 1,
2014 at 4:30 PM.
       The U.S. Probation Officer is reminded that, should any objections be raised by
defendant to the PreSentence Report, the Addendum to said PreSentence Report must
specifically identify any unresolved objections, the grounds for the objections, and the
U.S. Probation Officer’s comments on them, as required by Fed. R. Crim. P. 32(g). The
party that raised the unresolved objections shall, within twenty-four (24) hours after the
Addendum is disclosed, state in writing whether it will insist that the unresolved objections
be ruled upon by the Court. Failure to do so will be deemed by the Court as a withdrawal
of the unresolved objections.
       SO ORDERED.
       At San Juan, Puerto Rico, on February 27, 2014.



                                          S/CARMEN CONSUELO CEREZO
                                          United States District Judge
